Case 3:05-cr-00124-RLJ-HBG   Document 355    Filed 09/30/11   Page 1 of 14
                             PageID #: 514
Case 3:05-cr-00124-RLJ-HBG   Document 355    Filed 09/30/11   Page 2 of 14
                             PageID #: 515
Case 3:05-cr-00124-RLJ-HBG   Document 355    Filed 09/30/11   Page 3 of 14
                             PageID #: 516
Case 3:05-cr-00124-RLJ-HBG   Document 355    Filed 09/30/11   Page 4 of 14
                             PageID #: 517
Case 3:05-cr-00124-RLJ-HBG   Document 355    Filed 09/30/11   Page 5 of 14
                             PageID #: 518
Case 3:05-cr-00124-RLJ-HBG   Document 355    Filed 09/30/11   Page 6 of 14
                             PageID #: 519
Case 3:05-cr-00124-RLJ-HBG   Document 355    Filed 09/30/11   Page 7 of 14
                             PageID #: 520
Case 3:05-cr-00124-RLJ-HBG   Document 355    Filed 09/30/11   Page 8 of 14
                             PageID #: 521
Case 3:05-cr-00124-RLJ-HBG   Document 355    Filed 09/30/11   Page 9 of 14
                             PageID #: 522
Case 3:05-cr-00124-RLJ-HBG   Document 355    Filed 09/30/11   Page 10 of 14
                             PageID #: 523
Case 3:05-cr-00124-RLJ-HBG   Document 355    Filed 09/30/11   Page 11 of 14
                             PageID #: 524
Case 3:05-cr-00124-RLJ-HBG   Document 355    Filed 09/30/11   Page 12 of 14
                             PageID #: 525
Case 3:05-cr-00124-RLJ-HBG   Document 355    Filed 09/30/11   Page 13 of 14
                             PageID #: 526
Case 3:05-cr-00124-RLJ-HBG   Document 355    Filed 09/30/11   Page 14 of 14
                             PageID #: 527
